                                                                                       Case 12-02081           Doc 16       Filed 11/22/13 Entered 11/22/13 14:58:30    Desc Main
                                                                                                                              Document     Page 1 of 1


                                                                                                                   UNITED STATES BANKRUPTCY COURT
ORDER DENYING WITHOUT PREJUDICE- PER THE STATEMENTS MADE ON THE RECORD ON 11/21/13



                                                                                                                       DISTRICT OF CONNECTICUT


                                                                                     -----------------------------------------------------
                                                                                     IN RE:            CHARLES PAPPAS                      )
                                                                                                                                           )   Case No.    12-22099
                                                                                                       Debtor.                             )
                                                                                                                                           )   Chapter 7
                                                                                     -----------------------------------------------------
                                                                                                       DONNA PARRIS                        )
                                                                                                                                           )
                                                                                                       Plaintiff,                          )
                                                                                                                                           )   Adversary Proceeding No. 12-02081
                                                                                     vs.                                                   )
                                                                                                       CHARLES PAPPAS                      )
                                                                                                                                           )
                                                                                                       Defendant.                          )   November 1, 2013
                                                                                     -----------------------------------------------------

                                                                                                                   MOTION TO WITHDRAW APPEARANCE

                                                                                             TO THE HONORABLE ALBERT S. DABROWSKI, BANKRUPTCY JUDGE:

                                                                                              Pursuant to Rule 7(e) of the Local Civil Rules of the United States District Court for

                                                                                     the District of Connecticut, Attorney Derek G. Poirier, counsel for the defendant, Charles

                                                                                     Pappas, respectfully moves for leave of Court to withdraw his appearance in Adversary

                                                                                     Proceeding Number 12-02081, in support thereof states as follows:


                                                                                              1. An Adversary case was filed on November 26, 2012 against defendant to

                                                                                     contest the dischargeability of a debt pursuant to 11 U.S.C. §523(a)(6) and the

                                                                                     revocation of his discharge pursuant to 11 U.S.C. §727(c),(d),(e).

                                                                                              2. Undersigned counsel was originally retained to represent debtor, Charles
DATED: 11/22/13




                                                                                     Pappas, in the filing of a chapter 7 bankruptcy proceeding, Case Number 12-22099, on

                                                                                     August 23, 2012.
